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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al., on behalf           )
of themselves and all others similarly         )
situated,                                      )
                                               )
       Plaintiffs,                             )
                                               )         Case No. 16-2105-JAR-JPO
v.                                             )
                                               )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, et )
al.,                                           )
                                               )
       Defendants.                             )
                                               )

                                  PLAINTIFFS’ EXHIBIT LIST

       Plaintiffs Steven Wayne Fish, Donna Bucci, Charles Stricker, Thomas J. Boynton,

Douglas Hutchinson, and the League of Women Voters Kansas (“LWVK” and collectively with

Fish, Bucci, Stricker, Boynton, and Hutchinson, “Plaintiffs”) hereby provide their Exhibit List

for the above-referenced case scheduled to start trial on March 6, 2018:

No.                 Description                         I.D.        Off.   Adm.      Deposition or
                                                                                       Witness
1     Fish ELVIS Registrant Details
      CONFIDENTIAL
2     Bucci ELVIS Registrant Details
      CONFIDENTIAL
3     Boynton ELVIS Registrant Details
      CONFIDENTIAL
4     Stricker ELVIS Registrant Details
      CONFIDENTIAL
5     Hutchinson ELVIS Registrant Details
      CONFIDENTIAL
6     LWVK Expenditures                            LWVKID000001
7     Ahrens-Neal Email re: Wichita Voter          LWVK-
      Reg.                                         00015749
8     Ahrens-Neal Email re: Registration           LWVK-
      efforts in Emporia                           00015750
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No.                Description                      I.D.        Off.   Adm.   Deposition or
                                                                                Witness
9     LWVK 2015.09.26 Board Meeting            LWVK-
      Agenda                                   00000116
10    LWVK "The Voter" Bulletin                LWVK-
                                               00000167
11    LWVK Procedure for Contacting            LWVK-
      Suspended Voters                         00000091
12    LWVK Sample Letter to                    LWVK-
      Organizations                            00000462
13    LWV Flyers for Public Distribution       LWVK-0000001
14    LWVK Policy of Copying Proof of          LWVK-
      Citizenship Records                      00000086
15    "A Teaching Module for Voter             LWVK-
      Registration, and Voting in Kansas"      00002273
      (Jan. 2016)
16    Cover letter that attaches "How to Get   LWVK-
      Voters in Suspense Fully Registered"     00001310
      (Ahrens 27)
17    LWV "How to Get Voters in Suspense      LWVK-
      Fully Registered"                       00001312
18    LWVK Informational Voter Video          LWVK-
                                              00000300
19    Email to Ahrens et al re: Your Right to LWVK-
      Vote                                    00000566
20    Proof of Citizenship
      CONFIDENTIAL
21    Lehman Declaration
22    Lehman email re: non-citizen
      attempting to register
      CONFIDENTIAL
23    Sedgwick County Undocumented
      Registration List (January 2016)
24    Sedgwick County Undocumented
      Registration List (April 2016)
25    Sedgwick County Undocumented
      Registration List (March 2017)
26    Sedgwick County Undocumented
      Registration List (April 2017)
27    Separate Instances of Undocumented
      Attempts to Register (not Sedgwick
      County)
28    Bryant email re: documenting driver's    5th RFP 000054
      license

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No.                Description                    I.D.        Off.   Adm.   Deposition or
                                                                              Witness
29    Kobach email re: Wyo., Colo. DA        5th RFP 022595
      Letter
30    Bryant email re: reporter request on   5th RFP 004196
      non-citizen voting information
31    Bryant-Hegarty email re: Jury List     5th RFP 000017
      Potential Matches
32    2016.02.21 Caskey Aff.
33    2016.03.29 Caskey Aff.
34    2016.05.18 Caskey Aff.
35    2016.05.20 Caskey Aff.
36    2016.06.09 Caskey Aff.
37    2016.09.01 Caskey Aff. (Brown v.
      Kobach)
38    2017.01.30 Caskey Aff.
39    2017.03.24 Caskey Aff.
40    2000-2016 General Election Official
      Results
41    Spreadsheet: Def. Resp. to 1st RFP,
      Request No. 3
42    Spreadsheet: Def. Resp. to 1st RFP,
      Request No. 3 - Suspense List
      03.31.2016
43    Spreadsheet: Def. Resp. to 1st RFP,
      Request No. 4
44    Spreadsheet: Def. Resp. to 1st RFP,
      Request No. 4 - 90 Day Rule Supp.
45    Spreadsheet: Def. Resp. to 1st RFP,
      Request No. 7 - TDL
46    Spreadsheet: Def. Resp. to 1st RFP,
      Request No. 7 - TDL Supp.
47    Spreadsheet: Def. Resp. to 1st RFP,
      Request No. 7 - Election Crimes
48    Spreadsheet: Def. Resp. to 1st RFP,
      List of Names Supp. 6, 7, 8
49    Kansas SOS Instructions re: DMV
      Applicants
50    Communications re: use of SAVE



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No.                Description                      I.D.   Off.   Adm.   Deposition or
                                                                           Witness
51    SAVE Agency Search tool
52    Kansas Constitution, art. 4-6
53    Kansas Election Standards: Ch. 1
      Voter Registration
54    Proof of Citizenship - Evidence
      Required Website
55    McCullah email re: POC
56    Mayoricas Letter to Kobach (August
      2012)
57    Kobach email re: SAVE program
58    NCSL Voter List Accuracy
59    Wisconsin Final SAVE Report
60    Emails re: undocumented registrants
61    Kansas Application for Benefits
62    Kansas Health Benefits Information
63    Caskey email re: EWE Program
64    AZ Elections Manual
65    State of Kansas County Election
      Manual
66    Shawnee County Voter Reg.
      Certificate
67    Draft NVRA Amendments
68    Kobach email to Hamilton
69    Kobach memo for Trump transition
      meeting
70    CJOnline.com: "Kobach seeks
      authority to prosecute election crimes"
      (2015)
71    Kansas City Star: "Kris Kobach
      defends prosecution of voter fraud
      cases in Kansas" (2016)
72    McDonald Expert Report
73    Supplemental McDonald Report


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No.                Description                       I.D.   Off.   Adm.   Deposition or
                                                                            Witness
74    2017.03.15 Minnite Expert Report
75    2016.06.10 Minnite Rebuttal Report
76    2016.04.12 Minnite Supplemental
      Report
77    2016.02.25 Minnite Expert Report
78    Kansas SOS Election Crimes List          Bates 761
      1997-2012
79    Royster v. Rizzo Opinion
80    Kansas Voter Registration Appl.
      CONFIDENTIAL
81    Voter Information List
      CONFIDENTIAL
82    Kobach Testimony before OGR
      (February 2015)
83    Salina Journal: "Voter Fraud Claims
      Prove Elusive” (2009)
84    Wichita Eagle: "Kris Kobach to Run
      for Kansas Secretary of State Next
      Year” (2009)
85    Wichita Eagle: "Kobach to run for
      secretary of state" (2009)
86    Wichita Eagle: "Dead folks voting? At
      least one's still alive" (2010)
87    Hutchinson News: "Kansas Secretary
      of State: Fraud Bigger Issue than
      Thought” (2011)
88    Wall Street Journal: "The Case for
      Voter ID" by Kobach (2011)
89    Washington Post: "Voter ID laws are
      good protection against fraud" by
      Kobach (2011)
90    Wichita Eagle: "Officials say only two
      cases of voter fraud in Sedgwick
      County" (2011)
91    Wichita Eagle: "Waiting for Evidence"
      (2011)
92    CJOnline.com: "Elections must be
      secure" by Kobach (2012)
93    The Wichita Eagle: "Kansas' voter law
      isn't the same as Arizona's" by Kobach
      (2013)

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No.                Description                     I.D.   Off.   Adm.   Deposition or
                                                                          Witness
94  Wash. Times: "Kobach says he is
    preparing to prosecute election fraud"
    (2015)
95 Undocumented Registration
    Documentation (non-Sedgwick
    County) CONFIDENTIAL
96 Barton County ELVIS Screenshots
    CONFIDENTIAL
97 Cordero-Zaputo ELVIS Registrant
    Details CONFIDENTIAL
98 Yanet Miller ELVIS Registrant
    Details CONFIDENTIAL
99 Srithongrung ELVIS Registrant
    Details CONFIDENTIAL
100 Fernandez ELVIS Registrant Details
    CONFIDENTIAL
101 Gonzalez-Perez ELVIS Registrant
    Details CONFIDENTIAL
102 Ansolabehere Expert Report
103 Electoral Studies: "The perils of cherry
    picking low frequency events in large
    sample surveys" by Ansolabehere
    (2015)
104 "What Big Data Reveal About Survey
    Misreporting and the Real Electorate"
    by Ansolabehere and Hersh (2012)
105 Hersh Expert Report
106 Supplement to Hersh Expert Report
107 2nd Supplement to Hersh Expert
    Report
108
    Richman CV
109 Citizenship and ID Questionnaire
    Script
110 Compilation of Names Spreadsheet
    (Coded)
111 Meta-Analysis of Non-Citizen
    Registration Estimates
112 Non-Citizen Registration Estimates
    Confidence Intervals
113 Kansas General Election Results
    Compiled

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No.               Description                     I.D.   Off.   Adm.   Deposition or
                                                                         Witness
114 Kansas Telephone Poll Response Stats
    (Jan. 2017)
115
    Political Scientists' Open Letter
116 Email to Caskey re: needed
    information
117
    Email to Caskey re: a quick question
118 Email to Liu re: here is in the
    information plaintiff's attorney asked
    for
119 Kansas SOS 2010 General Election
    Vote Totals
120 Kansas SOS 2014 General Election
    Vote Totals
121
    Oklahoma Election Results 2014
122
    Nebraska Elections Results 2014
123 US Census Bureau Nebraska Quick
    Facts
124
    Oklahoma Election Information
125
    Nebraska Election Information
126
    von Spakovsky CV
127 GAO Report: "Additional Data Could
    Help State & Local Elections Official
    Maintain Accurate Voter Reg. Lists"
128 Statement of Colo. SOS on 2010
    Election
129 Letters to Senator Feinstein from
    Congressman Lewis et al
130 Note to Senator Feinstein from
    Attorney Rich et al
131 Wichita Eagle: "Kobach backs
    Trump's unsupported claim of millions
    illegally voting" (2016)
132
    Florida SOS Press Release
133 Kansas City Star: "Kris Kobach agrees
    with Donald Trump that 'millions'
    voted illegally but offers no evidence"
    (Video) (2016)


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       Plaintiffs reserve the right to supplement or amend this list based on Defendant’s witness

and exhibit lists. Plaintiffs’ counsel sought to facilitate a good faith advance exchange of lists

prior to filing, but counsel for Defendant were unable to do so.

DATED this 30th day of January, 2018.

Respectfully submitted,

/s/ Stephen Douglas Bonney                        DALE HO*
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                                  CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that on the 30th day of January, 2018, I electronically

filed the foregoing document using the CM/ECF system, which automatically sends notice and a

copy of the filing to all counsel of record.

                                                   /s/ Stephen Douglas Bonney
                                                   STEPHEN DOUGLAS BONNEY (#12322)

                                                   Attorney for Plaintiffs




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